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; U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

IN THE UNITED STATES DISTRICT CopR# ELE
FOR THE NORTHERN DISTRICT) OF TEKASy | ,
NX DALLAS DIVISION 13 2006

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\ CLERK, U.S. DISTRICT

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UNITED STATES OF AMERICA § Dau
:
V. § No. 3:05-CR-158-R
§
CHARLES COOPER BURGESS §
PLEA AGREEMENT

Charles Cooper Burgess, George E. West, the defendant's attorney, and the United
States of America (the government), agree as follows:
1. Rights of the defendant: Burgess understands that he has the rights
a. to plead not guilty;
b. to have a trial by jury;
c. to have his guilt proven beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call witnesses in his
defense; and

e. against compelled self-incrimination.

2. Waiver of rights and plea of guilty: Burgess waives these rights and
pleads guilty to the offense alleged in Count Two of the Indictment, charging a violation
of 18 U.S.C. § 1341, that is, mail fraud. Burgess understands the nature and elements of
the crime to which he is pleading guilty, and agrees that the factual resume he has signed

is true and will be submitted as evidence.

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3. Sentence: The maximum penalties the Court can impose include:
a. imprisonment for a period not to exceed twenty (20) years;
b. a fine not to exceed $250,000, or twice any pecuniary gain to the

defendant or loss to the victim(s);

c. a term of supervised release of up to five (5) years, which must
follow any terms of imprisonment. If Burgess violates the conditions
of supervised release, he could be imprisoned for the entire term of

supervised release;
d. a mandatory special assessment of $ 100;
e. restitution to victims or to the community, which may be mandatory

under the law, and which Burgess agrees includes restitution arising
from all relevant conduct, not limited to that arising from the offense
of conviction alone; and

f. costs of incarceration and supervision.

4. Court’s sentencing discretion and role of the Guidelines: Burgess
understands that the sentence in this case will be imposed by the Court after consideration
of the United States Sentencing Guidelines. The guidelines are not binding on the Court,
but are advisory only. Burgess has reviewed the guidelines with his attorney, but
understands no one can predict with certainty the outcome of the Court’s consideration of
the guidelines in this case. Burgess will not be allowed to withdraw his plea if his
sentence is higher than expected. Burgess fully understands that the actual sentence
imposed (so long as it is within the statutory maximum) is solely in the discretion of the

Court.

5. Mandatory special assessment: Burgess agrees to pay to the U.S.

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District Clerk the amount of $100, in satisfaction of the mandatory special assessment in
this case.

6. Defendant's cooperation: Burgess shall cooperate with the government
by giving truthful and complete information and/or testimony concerning his participation
in the offense of conviction and knowledge of criminal activities. Upon demand, Burgess
shall submit a personal financial statement under oath and submit to interviews by the
government and the U.S. Probation Office regarding his capacity to satisfy any fines or
restitution. The government will advise the Court of the extent of Burgess's cooperation.

7. Government's agreement: The government will not bring any additional
charges against Burgess based upon the conduct underlying and related to Burgess’s plea
of guilty. The government will dismiss, after sentencing, any remaining charges in the
pending indictment. If, in its sole discretion, the government determines that Burgess has
provided substantial assistance in the investigation or prosecution of others, it will file a
motion urging sentencing consideration for that assistance. Whether and to what extent to
grant the motion are matters solely within the Court’s discretion. This agreement is
limited to the United States Attorney's Office for the Northern District of Texas and does
not bind any other federal, state, or local prosecuting authorities, nor does it prohibit any
civil or administrative proceeding against Burgess or any property.

8. Violation of agreement: Burgess understands that if he violates any

provision of this agreement, or if his guilty plea is vacated or withdrawn, the government

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will be free from any obligations of the agreement and free to prosecute Burgess for all
offenses of which it has knowledge. In such event, Burgess waives any objections based
upon delay in prosecution. If the plea is vacated or withdrawn for any reason other than a
finding that it was involuntary, Burgess also waives objection to the use against his of any
information or statements he has provided to the government, and any resulting leads.

9. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement. There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

10. Waiver of right to appeal or otherwise challenge sentence: Burgess
waives his rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to appeal from
his conviction and sentence. He further waives his right to contest his conviction and
sentence in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and
28 U.S.C. § 2255. Burgess, however, reserves the rights (a) to bring a direct appeal of (1)
a sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at
sentencing, (b) to challenge the voluntariness of his plea of guilty or this waiver, and (c)
to bring a claim of ineffective assistance of counsel.

11. Representation of counsel: Burgess has thoroughly reviewed all legal and
factual aspects of this case with his lawyer and is fully satisfied with that lawyer’s legal

representation. Burgess has received from his lawyer explanations satisfactory to his

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concerning each paragraph of this plea agreement, each of his rights affected by this
agreement, and the alternatives available to his other than entering into this agreement.
Because he concedes that he is guilty, and after conferring with his lawyer, Burgess has
concluded that it is in his best interest to enter into this plea agreement and all its terms,
rather than to proceed to trial in this case.

12.  Entirety of agreement: This document is a complete statement of the
parties’ agreement and may not be modified unless the modification is in writing and
signed by all parties.

AGREED TO AND SIGNED this lz! "day of January, 2006.

RICHARD B. ROPER
UNITED STATES ATTORNEY

White: My. Ag

WILLIAM M. MARTIN

Special Assistant United States Attorney
Pennsylvania State Bar No. 84612

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RGE E. WEST
Attorney for Defendant hd /
CHAD MEACHAM
Deputy Criminal Chief

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I have read this Plea Agreement and have carefully reviewed every part of it with
my attorney. I fully understand it and voluntarily agree to it.

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CHA S COOPER BURGESS Date
Defexdant

I am the defendant’s counsel. I have carefully reviewed every part of this Plea
Agreement with the defendant. To my knowledge and belief, my client’s decision to
enter into this Plea Agreement is an informed and voluntary one.

 

   

 

GEORGE E. WEST Date
Attorney for Defendant

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